       Case 3:21-cr-00402-RS Document 370 Filed 08/09/24 Page 1 of 3



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 8                                  UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10                                     SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                      Case No. 3:21-cr-00402 RS
12                    Plaintiff,                    UNOPPOSED MOTION FOR EARLY
                                                    TERMINATION OF SUPERVISED
13             v.                                   RELEASE
14   VICTOR MAKRAS,                                 Dept.:      Courtroom 3 – 17th Floor
                                                    Judge:      Hon. Richard Seeborg
15                    Defendant.
                                                    Date Filed: October 19, 2021
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                                                    Trial Date: August 15, 2022
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                    UNOPPOSED MOTION FOR EARLY TERMINATION OF SUPERVISED RELEASE
                                        Case No. 3:21-cr-00402 RS
     2764385
          Case 3:21-cr-00402-RS Document 370 Filed 08/09/24 Page 2 of 3



 1   I.        INTRODUCTION

 2             Defendant Victor Makras hereby moves the Court to terminate his term of supervised

 3   release pursuant to 18 U.S.C. § 3583(e)(1). Mr. Makras’ three-year term of supervised release

 4   began on December 23, 2022. Mr. Makras has completed 19 months—over half—of his

 5   supervisory term. Both his supervising United States Probation Officer, Carla Navarro, and the

 6   Government (through Assistant United States Attorney David Ward) have advised undersigned

 7   counsel that they do not oppose early termination of Mr. Makras’ supervision. See Declaration

 8   of Jan Nielsen Little filed herewith (“Little Decl.”) at ¶¶ 2-3.

 9   II.       BACKGROUND

10             Mr. Makras was convicted on August 26, 2022, of two non-violent offenses: false

11   statements to a bank and aiding and abetting, and bank fraud and aiding and abetting. On

12   December 20, 2022, Mr. Makras was sentenced to time served and to pay a $15,000 fine, and to

13   serve three years of supervised release. Dkt. 200. At the time sentence was imposed, the Court

14   indicated that it “might consider” early termination of supervised release, “at an appropriate

15   point.” Dkt. 203 (Sentencing Tr.) at 18:16-17.

16             Mr. Makras paid his $200 special assessment on the day of sentencing, December 20,

17   2022, and he paid the entirety of his fine a week later, on December 27, 2022. Dkts. 207, 208.

18   During his period of supervision Mr. Makras has complied with all conditions of release,

19   including timely submission of his pay stubs every two weeks, and obtaining permission for all

20   travel. His supervision record is unblemished. Little Decl. at ¶ 4.

21   III.      MR. MAKRAS IS AN APPROPRIATE CANDIDATE FOR EARLY
               TERMINATION OF SUPERVISION.
22

23             Having served over 19 months of supervised release, Mr. Makras is eligible for early

24   termination of supervised release under 18 U.S.C. § 3583(e)(1), which authorizes a Court to

25   terminate a defendant’s term of supervised release at any time after the expiration of one year of

26   supervision, if the Court is “satisfied that such action is warranted by the conduct of the defendant

27   released and the interest of justice.”

28             The Judicial Council’s Guide on Judiciary Policy counsels a presumption in favor of

                                                        1
                   UNOPPOSED MOTION FOR EARLY TERMINATION OF SUPERVISED RELEASE
                                       Case No. 3:21-cr-00402 RS
     2764385
       Case 3:21-cr-00402-RS Document 370 Filed 08/09/24 Page 3 of 3



 1   recommending early termination for supervisees after the first eighteen months, for supervisees

 2   who are not “career violent and/or drug offenders, sex offenders, or terrorists,” if they “present no

 3   identified risk to the public or victims,” and if they are “free from any moderate or high severity

 4   violations.” Guide to Judiciary Policy, Vol. 8E, Ch. 3 § 380.10(e)(1)(A)-(C), “Early Termination”

 5   (Monograph 109) (rev’d 2010), cited in United States v. Manzo, No. 2:18-CR-0155 WBS (E.D.

 6   Cal. Feb. 9, 2022) (granting early termination of supervised release). The Judicial Conference

 7   further has identified criteria for Probation Officers to consider in assessing eligibility for early

 8   termination of supervision, including stable community reintegration, compliance with all

 9   conditions of supervision, no aggravated role in the offense of conviction, no history of violence,

10   no recent arrests or convictions, no recent evidence of alcohol or drug abuse, no recent psychiatric

11   episodes, no identifiable risk to the safety of any identifiable victim, and no identifiable risk to

12   public safety. Guide to Judiciary Policy, supra., at § 380.10(b).

13             Mr. Makras’ conduct while on supervised release has more than satisfied all of these

14   criteria. He has fully paid his fine obligation. He has had minimal special conditions, and has

15   fully complied with all of them. He is well integrated into his community and is a valued worker,

16   family member, and citizen.

17             Given Mr. Makras’ performance on supervised release, and considering the legal and

18   policy arguments supporting early termination of supervision for a supervisee of his nature who

19   has completed over 19 months of supervision, Mr. Makras respectfully requests that the Court

20   order that his term of supervision be terminated under 18 U.S.C. § 3583(e).

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                                                              Respectfully submitted,
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     Dated: August 9, 2024                                     KEKER, VAN NEST & PETERS LLP
23

24                                                      By:    /s/ Jan Nielsen Little
                                                               JOHN W. KEKER
25                                                             JAN NIELSEN LITTLE
                                                               CODY GRAY
26
                                                               Attorneys for Defendant VICTOR
27                                                             MAKRAS
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                   UNOPPOSED MOTION FOR EARLY TERMINATION OF SUPERVISED RELEASE
                                       Case No. 3:21-cr-00402 RS
     2764385
